                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF IOWA
                               CEDAR RAPIDS DIVISION

UNITED STATES OF AMERICA ex rel., )
Craig Meyer;                      )
                                  )
                     Plaintiff,   )                  Case No. 17-CV-12-MWB
                                                              _____________
                                  )
                                  )                  TO BE FILED IN CAMERA
       vs.                        )                       UNDER SEAL
                                  )
RESMED CORP.                      )
                                  )
and                               )
                                  )
RESPIRONICS, INC.                 )
                                  )
                     Defendants. )


                                         COMPLAINT


                       QUI TAM COMPLAINT FILED IN CAMERA
                                AND UNDER SEAL

       Qui tam Plaintiff/Relator, Craig Meyer (“Relator”), through his attorneys Brady &

Associates, on behalf of the United States of America, for his Qui Tam Complaint against

Defendants ResMed Corp. (“ResMed”) and Respironics, Inc. (“Respironics”) based upon his

direct and personal knowledge, alleges as follows:


                                      I. INTRODUCTION

       1.      This is an action to recover damages and civil penalties on behalf of the United

States of America arising from false and/or fraudulent records, statements and claims caused to be

made by Defendants ResMed and Respironics, and/or their respective agents and employees in

violation of the federal Civil False Claims Act, 31 U.S.C. § 3729, et seq., as amended ("the FCA”).

       2.      Since at least 2011, each of the two Defendants, in apparent competition with



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each other and respectively in competition with other companies in the relevant industry, have

conducted similar unlawful kickback schemes to induce Home Medical Equipment (“HME”)

companies to purchase the respective Defendant’s continuous positive airway pressure (“CPAP”)

products, in violation of the federal Anti-Kickback Statute.

       3.      Upon information and belief, Defendant Respironics has engaged in similar

kickback schemes as described herein to induce HME companies to purchase or lease

Respironics’ oxygen concentrators for patients with respiratory disorders.

       4.      As a direct result of each of the two Defendant’s improper practices, federal

health insurance programs, including but not limited to, Medicare, Medicaid, TRICARE,

CHAMPVA and the Federal Employee Health Benefits Program ("FEHBP") have been caused

to pay false or fraudulent claims for reimbursement of ResMed’s and Respironics’ CPAP

equipment and supplies, as well as Respironics’ oxygen concentrators, that resulted from

Defendants’ respective illegal kickbacks.

       5.      The    FCA     was   originally enacted      during   the   Civil   War,    and   was

substantially amended in 1986. Congress amended the Act to enhance the Government's ability

to recover losses sustained as a result of fraud against the United States after finding that fraud in

federal programs was pervasive and that the FCA, which Congress characterized as the primary

tool for combating government fraud, was in need of modernization.

        6.     Congress intended the amendments to the FCA to create incentives

for individuals with knowledge of fraud against the government to disclose the information

without fear of retaliation, and to encourage the private bar to commit legal resources to

prosecuting fraud on the Government's behalf.

       7.      The FCA provides that any person who knowingly submits, or causes the




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submission of a false or fraudulent claim to the U.S. Government for payment or approval is liable

for a civil penalty of up to $11,000 for each such claim, plus three times the amount of the false

claims, plus attorneys’ fees and costs. 31 U.S.C. § 3729. Liability attaches when a defendant

knowingly seeks payment, or causes others to seek payment, from the Government that is

unwarranted.

       8.      The FCA allows any person, known as a “relator,” having information about a

false or fraudulent claim against the Government to bring an action on behalf of the Government,

and to share in any recovery.

       9.      Based on these provisions, Plaintiff and Relator Craig Meyer seeks through this

action to recover on behalf of the United States damages and civil penalties arising from the

Defendants respectively making or causing to be made false or fraudulent records, statements

and/or claims in connection with its illegal kickbacks related to ResMed’s and Respironics’

CPAP equipment and supplies and Respironics’ oxygen concentrators.

       10.     Although Defendants did not directly submit claims for the relevant durable

medical equipment to federal health insurance programs, they each knew, and/or reasonably

foresaw, that their respective illegal financial inducements would cause the submission of

thousands of claims to these health programs for prescriptions that were not eligible for program

reimbursement due to being tainted by Defendants’ kickback schemes.

       11.     Defendants are therefore respectively liable under the FCA and the federal Anti-

Kickback Statute for causing the submission of thousands of claims for ResMed’s and

Respironics’ CPAP equipment and supplies, as well as Respironics’ oxygen concentrators, that

were not eligible for reimbursement because those claims were tainted by illegal kickbacks that

the Defendants provided to the HME companies.




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                                          II.     PARTIES

        12.     Relator Craig Meyer is a resident of Kansas and a citizen of the United States.

Since 2006, Craig Meyer has been the owner and principle officer of Advanced Medical DME,

LLC, a Kansas limited liability company that operates in Kansas, Missouri and Texas and has

purchased CPAP equipment from both Defendant ResMed and Defendant Respironics. In that

capacity, and through his involvement in the HME industry, Craig Meyer has gained direct and

personal knowledge of the illegal kickbacks and false claims alleged herein. Relator brings this

action on behalf of the United States of America pursuant to the Qui Tam provisions of the FCA,

31 U.S.C. § 3729 et seq.

        13.     Defendant ResMed is a corporation organized under the laws of Minnesota with a

principal place of business at 9001 Spectrum Center Boulevard, San Diego, California 92123.

Defendant ResMed regularly transacts business in this federal district.

        14.     Defendant Respironics is a corporation organized under the laws of Delaware

with a principal place of business at 1010 Murry Ridge Lane, Murrysville, Pennsylvania 15668.

Respironics is a wholly owned subsidiary of Philips Holdings USA, Inc. Defendant Respironics

regularly transacts business in this federal district.

        15.     Both Defendant ResMed and Defendant Respironics develop, manufacture and

market a broad range of prescription CPAP equipment and supplies, including but not limited to,

the following prescription products:

                A.      Continuous Positive Airway Pressure (CPAP) devices that deliver a steady
                        flow of air throughout the night as a treatment for sleep apnea.

                B.      Bi-level therapy devices that deliver two levels of pressure during the night;

                C.      Auto therapy devices;

                D.      Humidifiers;




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               E.      Tubing used to carry the air from the therapy device to the mask;

               F.      Therapy device filters;

               G.      Masks used to deliver the air from the therapy device;

               H.      Chinstraps/headgear.

Both ResMed and Respironics, respectively, sell and/or lease these products to HME companies

who provide CPAP equipment and supplies to patients pursuant to a prescription. ResMed

provides about 40 percent of the market share of CPAPs themselves, and about 50 percent of the

market share of CPAP masks. Respironics provides about 35 percent of the market share of

CPAPs themselves, and about 45 of the percent market share of CPAP masks. Respironics also

sells and/or leases oxygen concentrators to HME companies who provide oxygen concentrators to

patients pursuant to a prescription.

                              III.     JURISDICTION AND VENUE

       16.     This Court has jurisdiction over the subject matter of this action pursuant to 31

U.S.C. § 3732(a) and 28 U.S.C. § 1331.

        17.     In accordance with 31 U.S.C. § 3730(e)(4)(A), there has been no statutorily

relevant public disclosure of the "allegations or transactions" in this Complaint. None of the

allegations set forth in this Complaint are based on a public disclosure of allegations or transactions

in a criminal, civil or administrative hearing, in a congressional, administrative or General

Accounting Office report, hearing, audit or investigation, or from the news media. Relator Meyer

has direct and independent knowledge of the information on which the allegations set forth in this

Complaint are based. In accordance with 31 U.S.C. § 3730(e)(4)(B), Relator is an original source

with direct and independent knowledge of the allegations contained herein.

       18.     This Court has personal jurisdiction over each of the Defendants pursuant to 28




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U.S.C. §§ 1391(b) and 31 U.S.C. § 3732(a) because each of the two Defendants transact business

in the Northern District of Iowa.

       19.     Venue is proper in this District pursuant to 31 U.S.C. § 3732(a) and 28 U.S.C. §

1391(b), because each of the two Defendants transact business in the Northern District of Iowa.

      IV.     BACKGROUND ON FEDERAL HEALTH INSURANCE PROGRAMS

A.     Medicare Program

       20.     In 1965, Congress enacted Title XVIII of the Social Security Act, which

established the Medicare Program to provide health insurance for the elderly and disabled.

Medicare is a health insurance program for: people age 65 or older; people under age 65 with

certain disabilities; and people of all ages with end-stage renal disease (permanent kidney failure

requiring dialysis or a kidney transplant).

       21.     Medicare’s annual reimbursements for CPAP equipment and supplies are

estimated to be $745 million.

       22.     Medicare now has four parts: Part A, Part B, Part C, and Part D.

       23.     Medicare Part A (Hospital Insurance) helps cover inpatient care in hospitals,

including critical access hospitals, and skilled nursing facilities (not custodial or long-term care).

Medicare Part A also helps cover hospice care and some home health care.

       24.     Medicare Part B (Medical Insurance) helps cover doctors' services and outpatient

care, as well as other medical services not covered by Part A such as “durable medical

equipment” including HME equipment and supplies. Part B also helps pay for covered health

services and supplies when they are medically necessary.

       25.     Medicare Part C, also known as “Medicare Advantage,” is a managed care

program that can be utilized by Medicare beneficiaries as a replacement for benefits otherwise

generally available under Medicare Parts A and B, as described above. Medicare Part C is



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federally funded through contracts with private commercial insurance carriers who pay claims on

behalf of Medicare beneficiaries.

       26.     Medicare Part D (Prescription Drug Plan) provides beneficiaries with assistance

in paying for out-patient prescription drugs.

       27.     Payments from the Medicare Program come from a trust fund, known as the

Medicare Trust Fund, which is funded through payroll deductions taken from the work force, in

addition to government contributions. Over the last forty years, the Medicare Program has

enabled the elderly and disabled to obtain necessary medical services from medical providers

throughout the United States.

       28.     The Medicare Program is administered through the United States Department of

Health and Human Services ("HHS") and, specifically, the Centers for Medicare and Medicaid

Services ("CMS"), an agency of HHS.

       29.     Much of the daily administration and operation of the Medicare Program is

managed through private insurers under contract with the federal government.

       30.     Under Medicare Part A, contractors serve as "fiscal intermediaries," administering

Medicare in accordance with applicable rules and regulations.

       31.     Under Medicare Part B, the federal government contracts with insurance companies

and other organizations known as "carriers" to handle payment for physicians’ services in specific

geographic areas. These private insurance companies, or "Medicare Carriers", are charged with and

responsible for accepting Medicare claims, determining coverage, and making payments from the

Medicare Trust Fund.

       32.     Under Medicare Part C (Medicare Advantage), the federal government provides

funding and contracts with private insurers who provide CMS-approved managed care insurance




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plans to provide health care services and supplies to Medicare beneficiaries.         A Medicare

beneficiary must affirmatively enroll in one of the many Medicare Advantage plans offered by

private insurers to receive benefits as provided in the relevant plan in lieu of receiving benefits

under Medicare Parts A and B.

        33.     Under Medicare Part D, Medicare beneficiaries must affirmatively enroll in one

of many hundreds of Part D plans ("Part D Sponsors") offered by private companies that contract

with the federal government. Part D Sponsors are charged with and responsible for accepting

Medicare Part D claims, determining coverage, and making payments from the Medicare Trust

Fund.

        34.     The principal function of both intermediaries and carriers is to make payments for

Medicare services, and to audit claims for those services, to assure that federal funds are spent

properly.

        35.     To participate in Medicare, providers must assure that their services are provided

economically and only when, and to the extent they are medically necessary. Medicare will only

reimburse costs for medical services that are needed for that prevention, diagnosis, or treatment

of a specific illness or injury.

        36.     Medicare Part B provides “fee for service” reimbursements for non-hospital use

of “durable medical equipment” such as the claims for use of CPAP equipment and supplies, as

well as oxygen concentrators, at issue in this case. Thus, the Medicare false claims at issue in

this case were submitted under Part B.

B.      Medicaid Program

        37.     Medicaid was created in 1965, at the same time as Medicare, when Title XIX was

added to the Social Security Act. The Medicaid program aids the states in furnishing medical




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assistance to eligible needy persons, including indigent and disabled people. Medicaid is the

largest source of funding for medical and health-related services for America's poorest people.

        38.     Medicaid is a cooperative federal-state public assistance program which is

administered by the states.

        39.     Funding for Medicaid is shared between the federal government and the

respective states.

        40.     Title XIX of the Social Security Act allows considerable flexibility within the

states' Medicaid plans and therefore, specific Medicaid coverage and eligibility guidelines vary

from state to state.

        41.     However, in order to receive federal matching funds, a state Medicaid program

must meet certain minimum coverage and eligibility standards. A state must provide Medicaid

coverage to needy individuals and families in five broad groups: pregnant women; children and

teenagers; seniors; people with disabilities; and people who are blind. In addition, the state

Medicaid program must provide medical assistance for certain basic services, including inpatient

and outpatient hospital services.

        42.     Medicaid coverage for CPAP equipment and supplies varies from state to state.

Upon information and belief, Medicaid programs in all states and the District of Columbia cover

patients’ in-home use of oxygen concentrators.

C.      Other Federal Health Care Programs

        43.     In addition to Medicare and Medicaid, the federal government reimburses a

portion of the cost of prescription medication, equipment, and supplies under several other

federal health care programs, including but not limited to, TRICARE, CHAMPVA and the

Federal Employees Health Benefit Program.




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       44.     TRICARE, administered by the United States Department of Defense, is a health

care program for individuals and dependents affiliated with the armed forces. CHAMPVA,

administered by the United States Department of Veteran Affairs, is a health care program for

the families of veterans with a 100 percent service connected disability. The Federal Employee

Health Benefit Program, administered by the United States Office of Personnel Management,

provides health insurance for hundreds of thousands of federal employees, retirees, and

survivors.

                            V.   THE ANTI-KICKBACK STATUTE

       45.     Enacted in 1972, the main purpose of the federal Anti-Kickback Statute, 42

U.S.C. §1320a-7b, is to protect patients and federal health care programs from fraud and abuse

by curtailing the corrupting influence of money and financial incentives on health care decisions.

       46.     When a company pays kickbacks to a medical equipment provider, such as an HME

company, in order to induce the provider to use the company's products, it fundamentally

compromises the integrity of the provider/patient relationship. Government-funded healthcare

programs, such as Medicare and Medicaid, rely upon health care providers to decide what treatment

and/or medical equipment is appropriate and medically necessary for patients, and, therefore,

payable by that healthcare program. As a condition of its reimbursement, government healthcare

programs require that individuals and companies must render their services without the conflict

of receipt of a kickback.

       47.     The federal Anti-Kickback Statute makes it a crime to knowingly and willfully

offer, pay, solicit or receive any remuneration to induce a person:

               (1) to refer an individual to a person for the furnishing of any item or service
                   covered under a federal health care program; or

               (2) to purchase, lease, order, arrange for or recommend any good, facility, service,



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                    or item covered under a Federal health care program.

42 U.S.C. §1320a-7b(b)(l) and (2).

          48.    As to the Anti-Kickback Statute, “[t]he scope of prohibited conduct includes not

only that which is intended to induce referrals, but also that which in intended to induce the

purchasing, leasing, ordering or arranging for any good, facility, service or item paid for by

Medicare or Medicaid. 61 Fed. Reg. 2122, 2124 (Final Rule, Jan. 25, 1996).

          49.    The term "any remuneration" encompasses any kickback, bribe, or rebate, direct or

indirect, overt or covert, in cash or in kind. 42 U .S.C. § 1320a-7b(b)(1 ).

          50.    In fact, one form or “remuneration” expressly identified as a type of kickback

which prompted Congress to strengthen the Anti-Kickback Statute by, among other things,

broadening the definition of covered kickbacks to encompass “any remuneration” was unduly

favorable “credit arrangements[.]” H. Rep. No. 393, Part II, 95 Cong., 1st Session 53, reprinted

in 1997 U.S. Code Cong. & Admin. News 3039, 3048-49.

          51.    The federal Anti-Kickback Statute has been interpreted by the United States Court

of Appeals for the Third Circuit, as well as other federal courts, to cover any arrangement where

one purpose of the remuneration was to obtain money for the referral of services or to induce

further referrals. See United States v. Greber, 760 F.2d 68 (3d Cir.), cert. denied, 474 U.S. 988

(1985).

          52.    Proof of an explicit quid pro quo is not required to show a violation of the Anti-

Kickback Statute. Neither actual knowledge of the prohibitions of the Anti-Kickback Statute nor

specific intent to commit a violation of the Anti-Kickback Statute is required. 42 U.S.C. §

1320a-7(b)(h).

          53.    A violation of the federal Anti-Kickback Statute constitutes a felony punishable by

a maximum fine of $25,000, imprisonment up to five years, or both. A party convicted under the



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federal Anti-Kickback Statute may be excluded (i.e., not allowed to bill for any services rendered)

from Federal health care programs. 42 U.S.C. § 1320a-7(a).

        54.    In addition to criminal penalties, a violation of the Anti-Kickback Statute can also

subject the perpetrator to exclusion from participation in federal health care programs (42 U.S.C.

§ 1320a-7(b)(7)), civil monetary penalties of $50,000 per violation (42 U.S.C. § 1320a-7a(a)(7)),

and three times the amount of remuneration paid, regardless of whether any part of the

remuneration is for a legitimate purpose. 42 U.S.C. § 1320a-7a(a).

        55.    HHS has published safe harbor regulations that define practices that are not subject

to prosecution or sanctions under the federal Anti-Kickback Statute because such practices would

unlikely result in fraud or abuse. See 42 C.F.R. § 1001.952. However, only those arrangements

that precisely meet all of the conditions set forth in the safe harbor are afforded safe harbor

protection. None of the practices at issue here meet these safe harbor regulations.

        56.    Compliance with the Anti-Kickback Statute is a condition of payment under the

Medicare and Medicaid programs, and that condition applies regardless of which entity is

submitting the claim to the government.

        57.     Claims that result from a kickback scheme are per se false because the

Anti-Kickback Statute prohibits the government from paying for services or items tainted by

kickbacks. No further express or implied false statement is required to render such infected

claims false, and none can render the claim legitimate.

        58.     The FCA imposes liability where a defendant knowingly causes such

tainted claims to be presented to the Medicare, Medicaid, or other government funded healthcare

programs.

        59.     Consequently, if a party pays a kickback to induce the provision of a particular




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CPAP machine and supplies, it renders false the submitter's implied or express certification of

compliance that the resulting claim complies with the requirements of the Anti-kickback Statute.

        60.     Moreover, on March 23, 2010, as part of the Affordable Healthcare for America

Act, the Anti-Kickback Statute was amended to clarify that all claims tainted from a violation of

the Anti-Kickback Statute are a violation of the FCA. 42 U.S.C. § 1320a-7(b)(g). That amendment

to the Anti-Kickback Statute codified the long-standing case law that a claim tainted by a violation

of the Anti-Kickback Statute renders a claim false under the FCA. See e.g., United States ex rel.

Schmidt v. Zimmer, Inc., 386 F.3d 235 (3d Cir. 2004); United States v. Rogan, 517 F.3d 449 (7th

Cir. 2008).


                                  VI. FRAUD ALLEGATIONS

       61.     Obstructive sleep apnea (“OSA”) is a condition in which a person’s upper airway

becomes narrow as the muscles relax naturally during sleep. This reduces oxygen in the blood

and results in sleep apnea and/or hypopneas. Approximately 15 million people in the United

States are actively being treated for this condition.

       62.     The medical treatment for OSA is positive airway pressure (“PAP”). PAP treats

OSA by delivering a stream of compressed air via a hose to a nasal pillow, nose mask, full-face

mask, or hybrid, splinting the airway (keeping it open under air pressure) to deliver unobstructed

breathing by reducing and/or preventing apneas and hypopneas.

        63.     There are two forms of equipment for the provision of PAP: CPAP (continuous

positive airway pressure), and VPAP (variable positive airway pressure).

        64.     Millions of Americans also suffer from respiratory ailments, such as chronic

obstructive pulmonary disease (“COPD”), for which they are prescribed home oxygen therapy.

Such home oxygen therapy is typically delivery through the use of durable medical equipment,




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including an oxygen concentrator.

        65.     Each of the two Defendant’s revenue from their respective CPAP equipment

product lines, as well as Respironics’ revenue from its oxygen concentrators, depends upon the

decisions of Respiratory Therapists and similar practitioners working at, or in conjunction with,

HME companies to recommend and provide either ResMed or Respironics products to their

patients, rather than products sold by one of their competitors.

        66.     When a physician diagnoses a patient and prescribes the use of a CPAP machine

or home oxygen therapy, that physician’s prescription does not usually specify what particular

manufacturer’s CPAP equipment and supplies or oxygen concentrators are to be provided.

        67.     A patient who receives such a prescription goes to an HME company to obtain

his/her CPAP equipment and supplies or oxygen concentrator.

        68.     A Respiratory Therapist or other similar medical practitioner is required to use

his/her medical knowledge and judgment to determine the best CPAP equipment and supplies or

oxygen concentrator for that particular patient, and makes a recommendation accordingly. Also,

and importantly, representatives of the relevant HME company can determine which

manufacturer’s CPAP equipment and supplies or oxygen concentrator a patient will be provided

based on the most favorable financial arrangement between the HME company and a

manufacturer of CPAP equipment and supplies or oxygen concentrator.

        69.     The decision to recommend and provide a particular manufacturer’s CPAP

equipment and supplies or oxygen concentrator may not be based on any kickback or

remuneration offered by a manufacturer to induce such a selection.

        70.     Once a patient who is covered by Medicare or another federal health care

program has received his/her initial CPAP equipment and supplies, that patient is eligible under




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Medicare and other federal programs to receive replenishment supplies per Medicare guidelines

(approximately every three months). These replenishment supplies include a new mask, tubing,

chinstraps/headgear, and filters. Except in areas where Medicare has established competitive

bidding for CPAP equipment and supplies, Medicare reimburses approximately $472.00 for

these quarterly supplies, with annual reimbursement of approximately $1,890. Areas that are

subject to competitive bidding generally have lower Medicare reimbursement rates.

       71.     The marketplace of HME companies that provide CPAP equipment and supplies

to patients in the United States generally includes two extremely large HME companies—

Lincare and Apria—along with hundreds of much smaller HME companies dispersed throughout

the nation, such as Advanced Medical DME, LLC, which is owned and operated by Relator

Craig Meyer. The same is generally true as to oxygen concentrators—Lincare and Apria are the

two largest providers, with hundreds of smaller providers dispersed throughout the United States.

       72.     To operate efficiently and effectively, such HME companies must maintain

inventory of readily available CPAP equipment and supplies and/or oxygen concentrators.

Maintaining such inventory of readily available CPAP equipment and supplies and/or oxygen

concentrators constitutes a major expense of such HME companies which, absent an arrangement

for financing such inventory, would require substantial periodic outlays of capital.

       73.     Defendants ResMed and Respironics, in competition with each other and

respectively in competition with other manufacturers of CPAP equipment and supplies, have

arranged for HME companies routinely to receive interest-free financing, for twelve months, of

substantial amounts of inventory of CPAP equipment and supplies.




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       74.    Defendant Respironics, in competition with other manufacturers of oxygen

concentrators, has similarly arranged for HME companies routinely to receive interest-free

financing, for twelve months, of substantial amounts of inventory of oxygen concentrators.

       75.    Since at least 2011 and continuing through the present ResMed has arranged for

HME companies, such as Advanced Medical DME, to purchase CPAP equipment and supplies in

bulk from ResMed with financing provided by Wells Fargo Equipment Finance, Manufacturer

Services Group. The address for Wells Fargo Equipment Finance, Manufacturer Services Group

is 300 Tri-State International, Suite 400, Lincolnshire, IL 60069.        Under such financing

arrangements, the HME company would receive the entire shipment of CPAP equipment and

supplies immediately from ResMed and would make interest-free monthly payments to Wells

Fargo Bank, N.A., over twelve months, for the purchase price of the equipment and supplies. The

only cost to the HME company for such Wells Fargo-provided financing of the CPAP equipment

and supplies from ResMed is a flat $100 “documentation fee.”

       76.    In addition to utilizing Wells Fargo to provide HME companies with interest-free

twelve-month financing to purchase inventory of durable medical equipment, ResMed similarly

utilizes a second, alternative, lending company, Navitas Lease Corp., for the same purpose with

essentially the same terms for HME companies. The address for Navitas Lease Corp. is 1719

Route 10 East, Suite 306, Parsippany, New Jersey 07054. The only cost to the HME company

for such Navitas-provided financing of the CPAP equipment and supplies from ResMed is a flat

$95 “processing fee.”




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       77.     For example, since November of 2011 Advanced Medical DME has received

financing, arranged by ResMed, from Wells Fargo for 39 bulk orders of CPAP equipment and

supplies from ResMed. On each occasion of such financing, Advanced Medical DME agreed to

make twelve monthly payments for the ResMed equipment and supplies to Well Fargo, with no

interest assessed thereon. (On a few occasions the first of the twelve monthly payments was

allowed to be delayed for two or three months). The principle amount of those 39 loans ranged

from $12,522.07 to $180,870.96. In total, since November of 2011, Advanced Medical DME has

received $1,651,392.14 of inventory from ResMed, with twelve monthly payments thereon to a

third-party financier, Wells Fargo, completely interest free.

       78.     Also, during May of 2015, Advanced Medical DME received financing, arranged

by ResMed, from Navitas for a bulk order of CPAP equipment and supplies from ResMed. On

that occasion of such financing, Advanced Medical DME agreed to make twelve monthly

payments for the ResMed equipment and supplies to Navitas, with no interest assessed thereon.

The principle amount of that loan was $33,565.16.

       79.     Similarly, since at least 2011 and continuing through the present Respironics has

arranged for HME companies, such as Advanced Medical DME, to purchase CPAP equipment

and supplies in bulk from Respironics, with financing provided by VGM Financial Services. The

address for VGM Financial Services is 1111 West San Marnan Drive, Waterloo, IA 50701.

Under such financing arrangements, the HME company would receive the entire shipment of

CPAP equipment and supplies immediately from Respironics and would make interest-free

monthly payments to VGM Financial Services, over twelve months, for the purchase price of the

equipment and supplies. The only cost to the HME company for such VGM-provided financing

of the CPAP equipment and supplies from Respironics is a flat $99 “documentation fee” plus a

nominal $1 “purchase option fee.”


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        80.      A representative of Respironics has stated to Relator Meyer that Respironics

engages in similar interest-free twelve month financing for HME companies to purchase or lease

oxygen concentrators from Respironics.

        81.      For example, since November of 2011 Advanced Medical DME has received

financing, arranged by Respironics, from VGM Financial Services for 42 bulk orders of CPAP

equipment and supplies from Respironics.       On each occasion of such financing, Advanced

Medical DME agreed to make twelve monthly payments for the Respironics equipment and

supplies to VGM Financial Services, with no interest assessed thereon. The principle amount of

those 42 loans ranged from $21,932.46 to $158,904.35. In total, since November of 2011,

Advanced Medical DME has received $2,357,129.47 of inventory from Respironics, with twelve

months of payments thereon to a third-party financier, VGM Financial Services, completely

interest free.

        82.      There was nothing unique about Advanced Medical DME as a provider of CPAP

equipment and supplies, or its business relationship with either ResMed or Respironics, to suggest

that such interest-free financing of inventory was not a standard practice of both ResMed and

Respironics in their respective dealings with HME companies generally. Moreover, on at least

one occasion a sales representative of Respironics with whom Relator Meyer had developed a

business relationship over the years stated to Relator Meyer that Respironics’ provision of

interest-free financing of inventory to Advanced Medical DME was standard practice for

Respironics vis-a-vis HME companies.

        83.      One purpose of ResMed’s financial inducements to HME companies in the form

of interest-free loans to finance inventory of CPAP equipment and supplies was to induce HME

companies to provide their patients with ResMed’s CPAP equipment and supplies.




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       84.     ResMed knew, or absent reckless indifference should have known, that HME

companies receiving such financial inducements to purchase or lease ResMed’s CPAP equipment

and supplies or oxygen concentrators would receive reimbursements for such equipment and

supplies from Medicare, Medicaid, and other federal healthcare programs.

       85.     ResMed’s provisions of these financial inducements to HME companies

in an effort to induce them to provide their patients with ResMed CPAP equipment and supplies

were therefore violations of the Anti-Kickback Statute.

       86.     One purpose of Respironics’ financial inducements to HME companies in the

form of interest-free loans to finance inventory of CPAP equipment and supplies, or to finance

inventory of oxygen concentrators, was to induce HME companies to provide their patients with

Respironics’ CPAP equipment and supplies or oxygen concentrators.

       87.     Respironics knew, or absent reckless indifference should have known, that HME

companies receiving such financial inducements to lease or purchase Respironics’ CPAP equipment

and supplies or oxygen concentrators would receive reimbursements for such equipment and

supplies from Medicare, Medicaid, and other federal healthcare programs.

       88.     Respironics’ provisions of these financial inducements to HME companies

in an effort to induce them to provide their patients with Respironics’ CPAP equipment and supplies

or oxygen concentrators was therefore a violation of the Anti-Kickback Statute.

       89.     ResMed’s revenue from its CPAP business depends heavily upon HME

companies putting their patients on ResMed’s CPAP equipment and supplies. The medical

providers working for, or in conjunction with, the HME companies have a large influence over

which manufacturer’s CPAP equipment and supplies or oxygen concentrators a patient will use.

       90.     Respironics’ revenue from its CPAP and oxygen concentrator business depends




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heavily upon HME companies putting their patients on Respironics’ CPAP equipment and

supplies or oxygen concentrators. The medical providers working for, or in conjunction with, the

HME companies have a large influence over which manufacturer’s CPAP equipment and

supplies or oxygen concentrators a patient will use.

       91.       Each of the two Defendants knowingly and willfully offered and provided

valuable remuneration in the form of interest-free financing of inventory to HME companies to

induce them to put their patients on the respective Defendant’s CPAP equipment and supplies or

oxygen concentrators.

       92.       When each of the Defendants intentionally decided to employ these illegal

kickbacks to promote the purchase or lease of their respective durable medical equipment, each

Defendant respectively knew or should have known that the HME companies receiving those

inducements would routinely file kickback-tainted, and therefore false, claims for

reimbursements from health insurance programs funded by the federal government when they

sought federal reimbursement for such kickback-tainted durable medical equipment.

       93.       Because such claims are not eligible for federally funded reimbursement,

submission of such a claim for reimbursement constitutes a false or fraudulent claim under the

federal False Claims Act, 31 U.S.C. § 3729. Those who knowingly cause such false claims to be

filed, as the Defendants have through their illegal kickback practices, are liable under the FCA, 31

U.S.C. § 3729.

       94.       Each of the two Defendants knew, or absent reckless disregard should have

known, that claims resulting from kickbacks were not eligible for federal program

reimbursement. Notwithstanding such knowledge or recklessness, each of the two Defendants

knowingly undertook such illegal kickback practices to increase the HME companies’ provision




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of ResMed’s or Respironics’ CPAP products and Respironics’ oxygen concentrators to their

patients.

        95.    Each of the two Defendants’ illegal kickbacks schemes therefore caused the

submission of false or fraudulent claims to federal health insurance programs.

        96.    Each of the two Defendants substantially benefitted from all of the false and

fraudulent claims described herein.

        97.    The submission of false claims was not only foreseeable, but was one of the

intended results of each of the two Defendants’ illegal kickback schemes.


                                            Count I

                                   Federal False Claims Act
                                 31 .S. C. §§ 3729(a)(l) and (a)(2)

        98.    Relator realleges and incorporates by reference the allegations contained in the

foregoing paragraphs of this Complaint.

        99.    This is a claim for treble damages and penalties under the False Claims Act, 31

U.S. C. § 3729, et seq., as amended.

        100.   By virtue of the acts described above, each of the two Defendants knowingly

caused false or fraudulent claims to be made to federally-funded health care programs.

        101.   By virtue of the acts described above, each of the two Defendants knowingly

caused to be made or used false records and statements, and omitted material facts, to induce the

Government, or third-party intermediaries, to approve or pay such false and fraudulent claims.

        102.   Each of the two Defendants provided illegal remuneration to HME companies in

the form of arranging for interest-free loans to induce improper recommendations and provision

of their respective CPAP equipment and supplies, and Respironics’ oxygen concentrators, to

beneficiaries of federally-funded health care programs in violation of the federal Anti-Kickback




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Statute.

       103.      Claims that arise from Defendants’ respective kickback schemes are false, and

violate the FCA, because they are the tainted by kickbacks—no further express or implied false

statements are required to render such kickback-tainted claims false, and none can render the

claims legitimate.

       104.      Each of the two Defendants’ violations of the federal Anti-kickback Statute give

rise to liability under the FCA for causing false claims for reimbursements for the kickback-

tainted items.

       105.      Each of the two Defendants violated the FCA by causing to be submitted claims

for reimbursement from federal health care programs, including Medicare and Medicaid,

knowing that those claims would be ineligible for the payments demanded due to federal Anti-

Kickback Statute violations associated with illegal remuneration paid to HME companies.

       106.      Each provision of ResMed CPAP equipment and supplies that occurred as a

result of the Defendant ResMed’s illegal inducements represents a false or fraudulent record or

statement.

       107.      Each provision of Respironics CPAP equipment and supplies or oxygen

concentrators that occurred as a result of the Defendant Respironics’ illegal inducements

represents a false or fraudulent record or statement.

       108.      Each claim for reimbursement for ResMed’s CPAP equipment and supplies

submitted to a federal health insurance program resulting from illegal inducements represents a

false or fraudulent claim for payment under the FCA.

       109.      Each claim for reimbursement for Respironics’ CPAP equipment and supplies or

oxygen concentrators submitted to a federal health insurance program resulting from illegal




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inducements represents a false or fraudulent claim for payment under the FCA.

       110.    Relator Meyer cannot at this time identify all of the false claims for payment that

were caused by each of the two Defendant’s conduct. The false claims were presented by

hundreds of separate entities, HME companies as described herein, across the United States.

       111.    The Government, or the relevant third-party intermediaries, unaware of the

falsity of the records, statements and claims made or caused to be made by respective

Defendants, paid the claims that were non-payable as a result of Defendants’ illegal kickbacks,

and that were therefore false under the FCA.

       112.    By reason of the Defendants’ acts, the United States has been damaged in a

substantial amount to be determined at trial. Federal health insurance programs have paid many

tens of thousands of claims, amounting to millions of dollars, for the provision of ResMed’s and

Respironics’ CPAP equipment and supplies, and Respironics’ oxygen concentrators that were

illegally induced by the respective Defendants.

                                    PRAYER FOR RELIEF

       WHEREFORE, qui tam Plaintiff and Relator Craig Meyer prays for judgment against

each of the two Defendants as follows:


To the United States:

       (1) Three times the amount of actual damages which the United States has
           sustained, or three times the amount of improperly received payments, as a
           result of each of the Defendants’ conduct;

       (2) A civil penalty of no less than $5,500 and up to $11,000 for each false claim
           which each of the Defendants caused to be presented to the United States;

       (3) Prejudgment interest;

       (4) All costs incurred in bringing this action; and




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       (5) Such further relief as this Court deems equitable and just.

To qui tam Plaintiff and Relator Meyer:

       (1) The maximum amount allowed pursuant to 31 U.S.C. § 3730(d) and/or any
           other applicable provision of law;

       (2) Reimbursement for reasonable expenses which Relator Meyer incurred in
           connection with this action;

       (3) An award of reasonable attorneys' fees and costs; and

       (4) Such further relief as this Court deems equitable and just.

                               DEMAND FOR A JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, qui tam Plaintiff hereby

demands a trial by jury.

                                                      Respectfully submitted,

                                                      ROUSE LAW PC


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                                                And


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                                                      (pro hac vice to follow unsealing of case)
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